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                                   4                                UNITED STATES DISTRICT COURT

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                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                   8   AMERICAN FEDERATION OF
                                       GOVERNMENT EMPLOYEES, AFL-CIO,
                                   9   et al.,                                            No. C 25-01780 WHA

                                  10                 Plaintiffs,

                                  11           v.                                         ORDER SETTING HEARING
                                                                                          SCHEDULE RE: MOTION FOR
                                  12   UNITED STATES OFFICE OF
Northern District of California




                                                                                          TEMPORARY RESTRAINING
 United States District Court




                                       PERSONNEL MANAGEMENT, et al.,                      ORDER AND ORDER TO SHOW
                                  13                                                      CAUSE
                                                     Defendants.
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                                  16        On February 23, 2025, plaintiffs filed an amended complaint and ex parte motion for a

                                  17   temporary restraining order and order to show cause (Dkt. Nos. 17, 18). The government shall

                                  18   file an opposition, if any, by WEDNESDAY, FEBRUARY 26, 2025, AT 10 AM. Plaintiffs shall
                                  19   file a reply, if any, by midnight that same day. The motion will be heard on THURSDAY,

                                  20   FEBRUARY 27, 2025, AT 1:30 PM. The hearing will be in person, in Courtroom 12.

                                  21        The above schedule is conditioned on plaintiffs serving a copy of this order on the

                                  22   government’s attorneys of record by midnight tonight.

                                  23

                                  24        IT IS SO ORDERED.

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                                  26   Dated: February 24, 2025.
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                                                                                             WILLIAM ALSUP
                                  28                                                         UNITED STATES DISTRICT JUDGE
